  Case 4:05-cv-00329-GKF-SH Document 2988 Filed in USDC ND/OK on 03/17/23 Page 1 of 1
                                         UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF OKLAHOMA

 State of Oklahoma,
                                              Plaintiff,     Case No.:      05-CV-329-GKF-SH
 vs.                                                         Date:          3/17/23
                                                             Court Time:    1:30-1:50
 Tyson Foods, et al
                                          Defendant(s).      MINUTE SHEET – STATUS CONF

Gregory Frizzell, U.S. District Judge            P. Lynn, Deputy Clerk                 Laura Griffin, Reporter

 Counsel for Plaintiff: Gentner Drummond, Jennifer Lewis, Ed Fite, Sara Hill
 Counsel for Defendant: Adam Deckinger, Scott McDaniel, John Elrod, Robert George, Gary Weeks, John Tucker,
        Colin Tucker, Robert Redemann


 MINUTES: Case called for status conference. Discussion held.

 Parties request 90 day extension and Court sets additional status conference 6/16/23 at 1:30. Parties to submit joint
 status report by 6/9/23.




 Minute Sheet Miscellaneous                                                                           (CR-01 Modified 10/2020)
